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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


C. NICOLE HENDERSON
512 Championship Drive
Harleysville, PA 19438 and
                                                                                  FILED
                                                                                 HAft·1 4 2019
NAT ASHA PATTERSON
1522 Birchwood A venue                                                        KATE BARKMAN, Clerk
                                                                             8
Abington, PA 19001     and                                                    Y         Dep. Clerk

MYCHELLE SNEED-JACOBS
2123 Audobon Trail
Middletown, DE 19709

               Plaintiffs                    : CIVIL ACTION NO.
                       v.
                                             : JURY TRIAL DEMANDED
MONTGOMERY COUNTY
COMMUNITY COLLEGE
340 Dekalb Pike
Blue Bell, PA 19438


               Defendant.


                                 PLAINTIFFS' COMPLAINT

       Plaintiff C. Nicole Henderson, Natasha Patterson and Mychelle Sneed·Jacobs, by and

through their attorneys, McCain Law, P.C., file this Complaint on behalf of themselves and

others similarly-situated and hereby aver as follows:



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I. This is a civil action seeking compensatory, punitive and non-pecuniary damages based

   on pattern and practice race discrimination and retaliation in violation of 42 U.S.C.

   § 1981, as amended by the Civil Rights Act of 1991 (Section 1981 ); Title VII of the Civil

   Rights Act of 1964 and 1991, 42 U.S.C. § 2000e, et seq. (Title VII) and; the Pennsylvania

   Human Relations Act (PHRA);

                                         PARTIES

1. Plaintiff, C. Nicole Henderson, (hereinafter referred to as "Plaintiff''), a Pennsylvania

   resident, is an African-American adult female who resides at 512 Championship Drive,

   Harleysville, PA 19438.

2. Plaintiff, Natasha Patterson, (hereinafter referred to as "Plaintiff''), a Pennsylvania

   resident, is an African-American adult female who resides at 1522 Birchwood Avenue

   Abington, PA 19001

3. Plaintiff, Mychelle Sneed-Jacobs, (hereinafter referred to as "Plaintiff''), a Delaware

   resident, is an African-American adult female who resides at 2123 Audubon Trail,

   Middletown, DE 19709.

4. Montgomery County Community College (hereinafter referred to as "Defendant" or

   MCCC), is a college of higher education located at 340 Dekalb Pike, Blue Bell, PA

    19438.



                                 JURISDICTION AND VENUE

5. This court has original jurisdiction of all civil actions arising under the Constitution, law

   or treaties of the United States pursuant to 28 U.S.C. §§ 1331 and 1391. This court has

   supplemental jurisdiction over all state law claims pursuant to 28 U.S.C §1367.



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6. The relevant portions of this action have been administratively processed with the Equal

   Employment Opportunity Commission (EEOC).

7. This action has been timely filed and has met all conditions precedent.

8. Venue is proper pursuant to 28 U.S.C. § I391(b) because Defendant conducts business in

   the Eastern District of Pennsylvania and the incidents comprising this Complaint

   occurred in this District.

                                   STATEMENT OF FACTS

9. Plaintiff Henderson began working for Defendant in March 2008 at the Director of

   Upward Bound Partnership for Student Success. Over time she was promoted to Dean of

   Academic Affairs.

10. As a Dean she faced constant oversight, harassment and scrutiny by the administration

   and the faculty union, none of which was experienced by her Caucasian counterparts.

11. Plaintiff ~atasha Patterson was initially hired by Defendant in 2014 as a Diversity

   Fellow.

12. Throughout her tenure she was denied promotion after promotion despite being more

   qualified than other non-African American candidates.

13. PlaintiffMychelle Sneed-Jacobs began working for Defendant in October 2017 as the

   Assistant Vice President of Academic Affairs.

14. She was summarily terminated less than four months later for no apparently justifiable

   reason.

15. lier termination was predicated mainly on the basis that Defendant did not desire to hire

   her for the position in the first place, despite her being the most qualified by a large

   margin. At the time, Defendant gave in to the pressure of the diversity board.



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16. Once she was terminated, Defendant could not wait to replace her with the under-

   qualified Caucasian female they sought to hire in the first place.

17. Defendant's actions towards Plaintiffs demonstrate a systemic pattern and practice of

   racial discrimination in hiring, promotions and retention.

18. For example, the hiring committees for administrative positions manipulate the candidate

   pools to favor White candidates over more qualified African American/Black candidates.

19. Ms. Patterson was a victim of these practices when a non African American candidate

   was selected over her for the Dean of Health Sciences position in July 2016. That non

   African American candidate was later terminated. Ms. Patterson was then appointed as

   Interim Dean. When pursuing the permanent position, Ms. Patterson was again not

   selected in April 2018 as Dean after successfully serving as Interim Dean from June

   2017-June 2018.

20. In fact, she was not even advanced into the second round of hiring despite being

   infinitely more qualified than the white candidates who were.

21. Ms. Patterson can also personally attest to race discrimination against African-

   American/Black candidates during the hiring process for the Assistant Vice-President of

   Academic Affairs in February 2018 and in relation to Dr. James Bretz's promotion to

   Dean of Science, Technology, Engineering and Mathematics in June 2018.

22. In both instances, Ms. Patterson sat on the search committees for those positions and can

   attest to the fact that, Dr. Jenna Klaus and Dr. Bretz were less qualified than the other

   diverse/minority candidates.




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23. Ms. Patterson can also personally attest to the methods in which the hiring committee

   manipulated the candidate pools to favor Ms. Klaus and Dr. Bretz, both White, over more

   qualified African-American/Black candidates.

24. In regards to the College's retention practices, Ms. Sneed-Jacobs was terminated in

   February 2018 after serving four (4) months as Assistant Vice•President of Academic

   Affairs.

25. She was initially hired in October 2017 after the College's Middle States Accreditation

   evaluation showed a severe lack of diversity in its administrative staff.

26. Once she was removed from office, she was replaced by Jenna Klaus who did not even

   meet the minimum qualifications for the position other than white-female.

27. In February 2018 Plaintiff Henderson went out on paid disability leave.

28. However, she was only given 60 calendar days leave; despite the fact that MCCC policy

   provides for "unlimited" medical leave for administrators.

29. Apparently for Defendant this rule only applies to non-African American administrators

   as they are consistently granted unlimited leave.

30. Henderson was also forced to use vacation time instead of accrued sick leave in violation

   of company policy.

31. And to add insult to injury, Henderson's pay was also docked upon her return and she

   was denied overtime pay in direct violation of federal and state fair labor standard laws.

   (In fact her pay was restored several months later after she complained to payroll)

32. It goes without saying that non-African Americans are not subject to such deliberate

   violations.




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33. As a way to ensure she knew her place, Faculty Union President Hal Halbert told Plaintiff

    Henderson that she was a "quota hire" in September 2018.

34. This declaration was made in the presence of other College administrators Phil Needles

    (VP), Vicki Bastecki-Perez (VP), Rose Makosfe (Director of Diversity & Equity) and

    Tim Connelly (Union representative for Mr. Halbert).

35. Unsurprisingly, no disciplinary action was taken by Defendant against Mr. Halbert for

    these racially inflammatory remarks.

36. Mr. Halbert also admitted to directing Henderson's subordinates not to engage with her

   directly and instead go directly to her superiors without respecting for the chain of

   command.

37. These malicious and deliberate actions towards African Americans such as Mrs.

   Henderson, Mrs. Patterson, Mrs. Sneed-Jacobs and others create a hostile work

   environment.

38. Such actions are consciously condoned by Defendants to limit the accessibility of

   employment opportunities to African Americans.

39. In sum, Defendant has and is engaged in an ongoing pattern and practice

   of race discrimination and knowingly employs company-wide policies and practices that

   have a disparate impact on African-Americans. Defendant's systemic discrimination

   against African-Americans include, but is not limited to, the practices described above.

40. Fortunately for Plaintiffs, they live in a country and state where these patterns and

   practices of deliberate discrimination by employers such as Montgomery County

   Community College against African Americans are unlawful and can be addressed and

   ultimately eradicated by the Courts and Defendants made to pay.



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                                         COUNTI
                                       SECTION 1981

41. Plaintiff incorporates paragraphs 1-40 as if fully set forth herein.

42. Montgomery County Community College employs racially discriminatory hiring,

    promotion and retention practices.

43. Defendant's discrimination against Plaintiffs and others similarly situated is in violation

   of their rights afforded by 42 U .S.C. § 1981.

44. By the conduct described above, Defendant intentionally deprives Black/African

   American citizens, of the same rights as are enjoyed by White citizens to the creation,

   performance, enjoyment, and all benefits and privileges, of their contractual employment

   relationship with defendant in violation of 42 U .S.C. § 1981.

45. As a result of Defendant's discrimination in violation of Section 1981, Plaintiffs and

   other African Americans have been denied employment opportunities providing

    substantial compensation and benefits, promotions and retention, thereby entitling

   Plaintiffs to injunctive and equitable monetary relief; and they have suffered anguish,

   humiliation, distress, inconvenience and loss of enjoyment of life because of Defendant's

   actions, thereby entitling them to compensatory damages.

           WHEREFORE, Plaintiffs demand judgment in their favor and on behalf of all

   other similarly situated potential plaintiffs, against Defendant and an award of the

    following:

           a. A Decree Ordering Defendant to cease and desist with its discriminatory

                 hiring, promotion and retention practices;




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            b. Retention of jurisdiction or appointment of a Magistrate to oversee the orderly

                 dismantling of such policies patterns and practices of Defendant with all

                 accelerated speed.

            c. Back pay and front pay, including benefits with pre-judgment interest;

            d. Compensatory damages, consequential damages and punitive damages;

            e. Non-pecuniary damages, including emotional pain and suffering,

                 inconvenience, mental anguish, loss of enjoyment of life and humiliation;

            f.   Attorney's fees and costs; and

            g. Any other relief this I lonorable Court deems appropriate under the

                 circumstances.

                                COUNT II
           TITLE VII and PENNSYLVANIA HUMAN RELATIONS ACT

46. Plaintiff incorporates paragraphs 1-45 as if fully set forth herein.

47. Title VII of the Civil Rights Act of 1964 and 1991 and the PHRA and the regulations

    promulgated thereafter make it an unlawful employment practice for an employer to

    discriminate in hiring, promotion or retention and/or retaliate against an individual with

    respect to the terms and conditions or privileges of employment on the basis of race.

48. Defendant was an employer within the meaning of the above-referenced statutes.

49. Plaintiffs were employees within the meaning of the above..referenced statutes.

50. Plaintiffs are a member of a protected class i.e. African-American.

51. Plaintiffs were all qualified for their respective positions.

52. Plaintiffs suffered adverse employment actions such as failure to hire, failure to promote

    and unlawful termination on account of race.

53. Defendants' actions created a hostile work environment.


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54. Other similarly situated African Americans were subjected to the same heinous

   discriminatory pattern and practices by Defendant.

55. As a result of the foregoing, Plaintiffs and others suffered damages including emotional

   distress; as well as loss of income, benefits and professional reputation.

           WHEREFORE, Plaintiff demands judgment in his favor and against Defendant

   and an award of the following:

           a. A Decree Ordering Defendant to cease and desist with its discriminatory

                hiring, promotion and retention practices;

           b. Retention of jurisdiction or appointment of a Magistrate to oversee the orderly

                dismantling of such policies patterns and practices of Defendant with all

                accelerated speed.

           c. Back pay and front pay, including benefits with pre-judgment interest;

           d. Compensatory damages, consequential damages and punitive damages;

           e. Non-pecuniary damages, including emotional pain and suffering,

                inconvenience, mental anguish, loss of enjoyment of life and humiliation;

           f.   Attorney's fees and costs; and

           g. Any other relief this Honorable Court deems appropriate under the

                circumstances.




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                                      JURY DEMAND
      Plaintiff hereby demands a trial by jury.

                                                       Respectfully submitted,

                                                       McCain Law, PC

                                                       By:~
                                                       J. Edward McCain III, Esquire


                                                       ~squire
                                                       1515 Market Street, Suite 1200
                                                       Philadelphia, PA 19102
                                                       215-236-1086
Date: March 14, 2019




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                                       VERIFICATION

        I hereby verify that the statements contained in this Complaint are true and

correct to the best of my knowledge, information and belief. I understand that false

statements herein are made su~jcct to the penalties of U.S.C. § 1746, relating to

unswom falsification to authorities.


Date:                t   !
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                                       VERIFICATION

        I hereby verify that the statements contained in this Complaint are true and

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Date:                                                    Natasha Patterson
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correct to the best of my knowledge, information and behef. I understand that false

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